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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                          )
US DOMINION, INC., et al,
                                          )
                                          )
   Plaintiffs/Counter-Defendants,
                                          )
                                          )
     v.
                                          )
SIDNEY POWELL, et al.,                    )    Civil Case No. 1:21-cv-00040 (CJN)
                                          )
                                          )
   Defendants/Counter-Plaintiffs.
                                          )
                                          )
                                          )
                                          )
                                          )
                                          )
US DOMINION, INC., et al.,
                                          )
                                          )
   Plaintiffs,
                                          )
                                          )
     v.
                                          )
                                          )    Civil Case No. 1:21-cv-00213 (CJN)
RUDOLPH W. GIULIANI,
                                          )
   Defendant.                             )
                                          )
                                          )
                                          )
                                          )
US DOMINION, INC., et al.,
                                          )
                                          )
   Plaintiffs/Counter-Defendants,
                                          )
                                          )
     v.
                                          )
                                          )
MY PILLOW, INC., et al.,
                                          )
   Defendants/Counter- and Third- Party   )
                                          )   Civil Case No. 1:21-cv-00445 (CJN)
   Plaintiffs,
                                          )
                                          )
    v.
                                          )
SMARTMATIC USA CORP., et al.,             )
                                          )
                                          )
   Third-Party Defendants.
                                          )
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                 STIPULATED MOTION TO AMEND SCHEDULING ORDER

          The parties to the consolidated actions, Plaintiffs US Dominion, Inc., Dominion Voting

Systems, Inc., and Dominion Voting Systems Corporation (together, “Dominion”), and

consolidated Defendants Sidney Powell, Defending the Republic, Rudolph W. Giuliani,

MyPillow, Inc., and Michael J. Lindell, hereby move pursuant to paragraph 9 of this Court’s

Standing Order to amend the scheduling order entered in these matters.

          The Court has heard argument from the Parties regarding and is considering competing

versions of a protective order to govern discovery in these cases. The Parties agree that this

request to amend the scheduling order is based on the parties’ need for additional time to conduct

discovery once a protective order is entered.

          The parties previously sought an extension of the case schedule to align the discovery

schedules of these three cases consistent with the schedule in place in US Dominion, Inc., et al. v.

Patrick Byrne, Case file No. 21—cv-02131 (CJN). The Court granted that request.1 Dkt. 143.

The proposed amended schedule is as follows:


                 Event                           Current Deadline                  New Proposed Deadline

    Deadline to Serve Document              December 2, 2022                   May 5, 2023
    Requests under Fed. R. Civ. P. 34

    Deadline for Completion of Fact         April 14, 2023                     September 22, 2023
    Discovery
    Deadline for Proponents to              May 26, 2023                       October 13, 2023
    Designate Expert Witnesses and
    Produce Expert Reports under
    Fed. R. Civ. P. 26(a)(2)




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 The parties in Byrne will likewise be moving to amend the schedule in that case consistent with the schedule proposed
in these cases so that the case schedules remain aligned.

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 Deadline for Opponents to               June 30, 2023                November 10, 2023
 Designate Expert Witnesses and
 Produce Expert Reports under
 Fed. R. Civ. P. 26(a)(2)

 Deadline for Proponents to              August 4, 2023               December 8, 2023
 Produce Responsive Expert
 Reports

 Deadline for Expert Depositions         September 22, 2023           January 19, 2023

 Status Conference: Court will           In-person on October 4,      In-person, on February __,
 discuss trial date and date for final   2023 at 10:00am              2024, at 10:00am
 pretrial conference

 Deadline to File Dispositive            November 3, 2023             March 1, 2024
 Motions

 Deadline to File Oppositions to         December 18, 2023            March 29, 2024
 Dispositive Motions

 Deadline to File Replies in             January 17, 2024             April 19, 2024
 Support of Dispositive Motions



Dated: December 1, 2022

Respectfully submitted,


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